                    Case 1:15-cv-13617-FDS
                     UNITED  STATES COURTDocument 104 FOR
                                           OF APPEALS  FiledTHE
                                                             08/26/18
                                                                 FIRSTPage 1 of 2
                                                                      CIRCUIT

Case name C. D. by and through her Parents and Next Friends,M.D. and P.D. et al. v. Natick School Committee et al.
District Court Case No. 1:15-cv-13617-FDS                      District of Massachusetts
Date Notice of Appeal filed 08/14/2018                 Court of Appeals Case No. 18-1794
Form filed on behalf of C. D. by and through her Parents and Next Friends, M.D. and P.D. et al.

                                                       TRANSCRIPT REPORT

Transcript Not Necessary for this Appeal
Transcript Already Filed in District Court. List each transcript by docket entry number and date and type of proceeding (attach
separate page if necessary) ECF No. 79 - Motion Hearing 12/01/2016



                                                       TRANSCRIPT ORDER

Name of Court Reporter Valerie O'Hara
Phone Number of Reporter (617) 737-2346

A.                This constitutes an order of the transcript of the following proceedings [check appropriate box(es) and
                  indicate dates of hearing(s)]:

                  PROCEEDING(S)                                                         HEARING DATE(S)

                  Jury Voir Dire
                  Opening Statement (plaintiff)
                  Opening Statement (defendant)
                  Trial
                  Closing Argument (plaintiff)
                  Closing Argument (defendant)
                  Findings of Fact/Conclusions of Law
                  Jury Instructions
                  Change of Plea
                  Sentencing
                  Bail hearing
                  Pretrial proceedings (specify)
                  Testimony (specify )
                  Other (specify)     Motion Hearing           07/11/2018

         NOTE: Any form that fails to specify in adequate detail those proceedings to be transcribed will be considered deficient.

B.                I certify that I have contacted the court reporter and the following financial arrangements for payment of the
                  transcript have been made:

                  Private funds.
                  Government expense (civil case). IFP status has been granted and a motion for transcript at government expense has
                  been allowed. (Attach a copy of the order to each copy of this order form.)
                  Criminal Justice Act. A CJA Form 24 has been approved by the district court judge.
                  Criminal Justice Act. A CJA Form 24 is attached for authorization by the court of appeals.
                  Federal Public Defender/Government Counsel - no CJA Form 24 necessary.

Filer's name Laurie R. Martucci, Esq.                         Filer's Signature / s / Laurie R. Martucci
Firm/Address 20 Cabot Blvd., Suite 300, Mansfield, MA 02048    Filer's Email address lrm@martucci-law-associates.com
Telephone number     (508) 964-6664                           Date mailed to court reporter    08/26/2018

(Court Reporter Use ONLY) Date received

Form CA1-10 (6/09/09)                                                                         SEE INSTRUCTIONS ON REVERSE
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                             CERTIFICATE OF SERVICE

I, Laurie R. Martucci, hereby certify that the above document filed through the ECF system
will be sent electronically to the registered participants as identified on the Notice of Electronic
Filing (“NEF”), and paper copies will be sent to those indicated as non-registered participants on
this date.


Dated this 26th day of August, 2018                     /s/ Laurie R. Martucci
                                                         Laurie R. Martucci
